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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case                                                                                         otc
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                                          UNITED STATES DISTRICT COURT                                                                   RECEIVED


                                                                         for the
                                                                                                                                  JUL 1 3 2022
                                                                        District of

                                                                                                                                  TONYR.I^j^C^RK
                                                                            Division                                              BY;
                                                                                                                                         DEPUT7



                                                                                   Case No.
                                                                                              22-cv-2088
                                                                                               (to be filled in by the Clerk's Office)
           ,<eM i c^            cJ. H-fil ^T
                             Plaintiffs)
(Write the full name of each plaintiff •who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,                  Jury Trial: (check one) \^[ Yes II No
please write see attached in the space and attach an additional
page with the full list of names.)
                                    -V-




  A LiV F^^Mr^EAL ^C
                                Defendants)
(Write thefuU name of each defendant •who is being sued. If the
names of all the defendants cannot fit in the space above, please
write see attached in the space and attach an additional page
with the full list of names.)




                                                   COMPLAINT FOR A CIVIL CASE


I. The Parties to This Complaint

          A. The PIainfiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.

                                  Name                                    ^l^ml^k ^rJ-l^i^^T
                                  Street Address                         ot^ B^r^h h L^H^
                                  City and County                             1^t€> JZ^ ^^
                                  State and Zip Code                       ^.Ar -9^<^C>
                                  Telephone Number                       Fss.7^ so ,-^73$
                                  E-mail Address



          B. The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


                                                                                                                                          Page 1 of 5
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                      Defendant No. 1

                                Name                                 i^i^A^L&L2'kc
                                 Job or Title (if known)
                                 Street Address              ^6>0 fj^ ^ o cHuoarJI A ^
                                 City and County             (0 ^-Tw'i r iM^x _
                                 State and Zip Code            ^4 ^tf
                                 Telephone Number            C^^2[S-tf(e^
                                 E-mail Address (if known)



                      Defendant No. 2

                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)



                      Defendant No. 3
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)



                      Defendant No. 4

                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)




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I[. Basis for Jurisdiction

           Federal courts are courts of limited Jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)

                        Federal question U Diversity of citizenship


           Fill out the paragraphs in this section that apply to this case.

           A. If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.




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                       Hd ttSC [^3 {Q Use ^si^c^ a< (AS^^I^'
           B. If the Basis for Jurisdiction Is Diversity of Citizenship

                      1. The Plaintiff(s)

                                 a. If the plaintiff is an individual

                                            The plaintiff, (name) , is a citizen of the
                                            State of (name)



                                 b. If the plaintiff is a corporation
                                            The plaintiff, (name) , is incorporated

                                            under the laws of the State of(name) ,

                                            and has its principal place of business in the State of (name)




                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2. The Defendant(s)

                                 a. If the defendant is an individual

                                           The defendant, (name) , is a citizen of

                                           the State of (name) . Or is a citizen of

                                            (foreign nation)



                                                                                                                             Page 3 of 5
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                                b. If the defendant is a corporation
                                           The defendant, (name) , is incorporated under

                                           the laws of the State of (name) , and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)

                                           and has its principal place of business in {name)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                      3. The Amount in Controversy


                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):




III. Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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                 ^ fi^we^ To A^^^^^^^u!^;r*<<>^<>^Afo^M^^^^Til
            w ^ fff} ^ jA^ 7?>^A€ u¥ e^ 7& ^s^ot^^ 7^^- /? ^ Y-

IV. Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.


           0/"Mr R^h^.^', fi
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V. Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) Is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11 .


           A. For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing: J> /Z?/J? <2

                      Signature of Plaintiff
                      Printed Name of Plaintiff               ^m^d a77 AW^'^7"
           B. For Attorneys


                      Date of signing:             ^//.S/2Z
                                                   "T
                      Signature of Attorney

                      Printed Name of Attorney

                      Bar Number
                     Name of Law Firm

                      Street Address
                      State and Zip Code

                     Telephone Number
                     E-mail Address




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